                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                       Civil Action No. 1:20-cv-220

RITA W. BARKLEY and                             §
RANDY W. BARKLEY,                               §
                                                §       ORDER
      Plaintiffs,                               §
v.                                              §
                                                §
4520 CORP., INC., et al.                        §
                                                §
      Defendants.                               §


             ORDER SUBSTITUTING EXECUTOR AS PLAINTIFF

       This cause being heard by the undersigned Judge on Plaintiffs’ Motion by

 Executor to be Substituted for Deceased Plaintiff, and it appearing to the Court that

 Rita W. Barkley is deceased and that Randy W. Barkley is the duly qualified,

 appointed and acting Executor of her estate; and it further appearing to the Court

 that the nature of this action is such that the cause of action survives the death of the

 named Plaintiff;

       IT IS ORDERED that Randy W. Barkley is hereby substituted as Plaintiff and

 that the substitution shall be hereafter shown in the title to this action.

       This the ______ day of ______________________, 2021.



       _______________________________
       J.



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